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 6 Attorney for Plaintiff

 7                      IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 8
      Kevin Zimmerman, an individual,
 9                                                Civil Action No: 17-cv-01200-GMN-GWF
10                         Plaintiff,
      v.
11                                                 NOTICE OF VOLUNTARY DISMISSAL
      SSB Eastern, LLC d.b.a. Taco Bell,
12                                                             WITH PREJUDICE
                           Defendant.
13

14
                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
15

16          PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41
17 (a)(1)(A)(i), Plaintiff, Kevin Zimmerman, hereby voluntarily dismisses this Action with

18
     prejudice.
19
            RESPECTFULLY submitted this 26th day of June, 2017.
20

21                                                     /s/ Whitney C. Wilcher
                                                       Whitney C. Wilcher, Esq.
22                                                     THE WILCHER FIRM
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27

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          Case 2:17-cv-01200-GMN-GWF Document 16 Filed 06/26/17 Page 2 of 2



 1                                  CERTIFICATE OF SERVICE
 2
          I hereby certify that on this 26th day of June, 2017, I electronically transmitted the
 3 foregoing document to the Clerk’s Office using the CM/ECF System for filing and
   transmittal of NEF notifications to:
 4

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